                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     at WINCHESTER

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       Case No. 4:08-CR-17
                                             )
ISAAC KNOTT                                  )       MATTICE/CARTER


                                           ORDER

       On May 28, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant Isaac Knott’s (“Defendant”)

plea of guilty to Count One of the Indictment, (b) the Court adjudicate Defendant guilty of the

charges set forth in Count One of the Indictment; and (c) Defendant shall remain in custody

pending sentencing in this matter (Doc. 36). Neither party filed an objection within the given ten

days. After reviewing the record, the Court agrees with the magistrate judge’s report and

recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

report and recommendation (Doc. 36) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

follows:

       (1) Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

Indictment; and

       (3) Defendant SHALL REMAIN in custody pending sentencing on Monday, August 24,

2009, at 10:30 am EST.

       SO ORDERED.

       ENTER:

                                                          /s/Harry S. Mattice, Jr.
                                                          HARRY S. MATTICE, JR.
                                                     UNITED STATES DISTRICT JUDGE

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